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                                       Office of the Clerk
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Molly C. Dwyer
Clerk of Court                             July 09, 2018


       No.:                    18-80080
       D.C. No.:               2:15-cv-01483-JLR
       Short Title:            Katherine Moussouris, et al v. Microsoft Corporation


       Dear Appellant/Counsel

       This is to acknowledge receipt of your Petition for Permission to Appeal under
       23(f).

       All subsequent letters and requests for information regarding this matter will be
       added to your file to be considered at the same time the cause is brought before the
       court.

       The file number and the title of your case should be shown in the upper right
       corner of your letter to the clerk's office. All correspondence should be directed to
       the above address pursuant to Circuit Rule 25-1.
